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                                                                             2019 Apr-02 PM 03:06
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION
BLUEWAVE HEALTHCARE                     }
CONSULTANTS, INC.,                      }
                                        }
      Plaintiff,                        }
                                        }
v.                                      }   Case No.: 5:15-cv-00884-MHH
                                        }
HEALTH DIAGNOSTIC                       }
LABORATORY, INC.,                       }
                                        }
      Defendant.                        }

                                    ORDER

      The parties have filed a Joint Status Report requesting that this action be

closed without prejudice because of a pending bankruptcy matter in Virginia

concerning HDL. (Doc. 15). BlueWave has a pending proof of claim against HDL

in the Virginia Bankruptcy Court. Consistent with the parties’ request, the Court

will close this matter without reaching the merits of BlueWave’s claims.

Accordingly, the Court ORDERS that this action is DISMISSED WITHOUT

PREJUDICE. The Court DIRECTS the Clerk of Court to please close the file.

      DONE and ORDERED this April 2, 2019.


                                  _________________________________
                                  MADELINE HUGHES HAIKALA
                                  UNITED STATES DISTRICT JUDGE
